                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT WINCHESTER

 UNITED STATES OF AMERICA                        )       MATTICE/CARTER
                                                 )
         v.                                      )       CASE NO. 4:09-CR-48
                                                 )
 MICHAEL SIBERT                                  )



                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 5,

 2010. At the hearing, defendant entered a plea of guilty to Count One of the Indictment. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent to

 enter an informed plea; that the plea is made knowingly and with full understanding of each of

 the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises; that the defendant understands the nature of the charge and penalties provided by law;

 and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

 accepted and that the Court adjudicate defendant guilty of the charges set forth in Count One of

 the Indictment at the time of sentencing. I further recommend that defendant remain on bond

 pending sentencing in this matter. Acceptance of the plea, adjudication of guilt, and imposition

 of sentence are specifically reserved for the district judge.

         The defendant’s sentencing date is scheduled for Monday, April 5, 2010, at 9:00 am.




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        Dated: January 5, 2010                s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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